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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


  In Re: New York City Policing
  During Summer 2020 Demonstrations                   20-cv-8924 (CM)(GWG)


  This filing is related to:

  ALL CASES                                           NOTICE OF DEPOSITION
                                                      PURSUANT TO FED. R. CIV. P.
                                                      30(b)(6)


       PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure, Plaintiffs in the above-captioned cases will take the deposition(s) upon oral

examination of Defendant, City of New York (the “City”), through one or more agents or other

representatives who shall be designated to testify on the City’s behalf, regarding all information

known or reasonably available to the City with respect to the Topics for Deposition identified

below. The City shall designate the person or persons most knowledgeable and prepared to

testify on behalf of the City concerning the Topics for Deposition. Plaintiffs request that the City

provide written notice at least five (5) business days before the deposition of (1) the name(s), (2)

the employment position(s), and (3) the Topics for Deposition about which each designated

individual shall testify on the City’s behalf.

       This deposition(s) shall commence at 9:30 a.m. on July 16, 2021 at the Office of the New

York State Attorney General, located at 28 Liberty Street, 16th Floor, New York, New York, or

at another location to be determined by Plaintiffs, or by remote means (via videoconference)

pursuant to Rule 30(b)(4) of the Federal Rules of Civil Procedure, and shall continue from day to

day until completion. This deposition(s) shall take place before a notary public or other officer

authorized by law to administer oaths.

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       Pursuant to Rule 30(b)(3)(A) of the Federal Rules of Civil Procedure, the deposition will

be recorded by a court reporter and/or audiovisual means.

       PLEASE TAKE FURTHER NOTICE that, pursuant to Rule 34 of the Federal Rules of

Civil Procedure, Defendants are required to produce, by electronic delivery, in advance of any

given deposition, any and all materials in any form they may have related in any way to the

subject matter of that deposition.

       You are invited to attend and cross-examine.

 Dated: July 2, 2021
        New York, New York


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                                         ATTACHMENT A


                                           DEFINITIONS

1. “Arrest” means an Officer’s seizure, detention, or arrest of a person, including but not limited

     to for the purpose of issuing them a criminal court or C-Summons (“summons”) or Desk

     Appearance Ticket (“DAT”) or fully processing them for arraignment.

2.   “Curfew Orders” means New York City Mayor Bill de Blasio’s Emergency Executive

     Orders Nos. 117-119, which imposed curfews in New York City between June 1 and June 7,

     2020. The Curfew Orders exempted certain categories of workers that were deemed

     “essential” (“Essential Workers”), including “police officers, peace officers, firefighters, first

     responders and emergency medical technicians, individuals travelling to and from essential

     work and performing essential work, people experiencing homelessness and without access

     to a shelter, and individuals seeking medical treatment or medical supplies.” Each of the

     Curfew Orders provided: “Failure to comply with this Order shall result in orders to disperse,

     and any person who knowingly violates the provisions in this Order shall be guilty of a Class

     B misdemeanor” under NYC Administrative Code (“AC”) § 3-108. AC § 3-108 contains a

     knowing intent requirement, as follows: “Any knowing violation of a provision of any

     emergency measure established pursuant to this chapter shall be a class B misdemeanor

     punishable by a fine of not more than five hundred dollars, or by imprisonment for not more

     than three months, or both.”

3. “Kettling,” “kettling tactics” and “encirclement” mean any and all plans, methods,

     procedures, tactics, strategies, or approaches, by whatever name or characterization, utilized

     by NYPD to control crowds, address disorderly conduct, and/or effectuate mass arrests and

     detentions, whether intentional or not, whereby Officers physically surround or otherwise


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   contain members of the public within an area, leaving them few or no routes of unimpeded

   egress.

4. “Legal Observer” means an individual who attends a public demonstration to observe and

   document interactions between law enforcement and demonstrators.

5. “Officer” means a member of service or civilian employee of the NYPD, regardless of rank,

   including but not limited to any and all officers, detectives, sergeants, lieutenants, captains,

   inspectors, chiefs, and/or deputy commissioners.

6. “Prosecution” means any actual or potential prosecution of a person Arrested related to the

   Summer 2020 Protests.

7. “Protest-Related Violation or Offense” means an alleged violation of any of the following

   laws during a demonstration or protest: New York State Vehicle and Traffic Law (“VTL”)

   Section 1156(a) (Pedestrians in Roadways); New York State Penal Law (“PL”) Section

   240.05 (Riot in the Second Degree); PL Section 240.10 (Unlawful Assembly); PL Section

   205.30 (Resisting Arrest); PL Section 195.05 (Obstruction of Governmental Administration

   in the Second Degree); PL Section 240.20(5) (Disorderly Conduct – Blocking Vehicular or

   Pedestrian Traffic); PL Section 240.20(6) (Disorderly Conduct – Refusing to Obey a Lawful

   Dispersal Order); New York City Administrative Code (“NYAC”) Section 3-108 (Executive

   Order Violation); and NYAC Section 10-110(c) (Parading Without a Permit), and any other

   offenses with which any individual who participated in any racial justice protests between

   May 28, 2020 and January 31, 2021 was actually Arrested for and/or charged.

8. “Relevant Policies and Procedures” refers to the policies and procedures of the New York

   City Police Department and the City of New York concerning:

    a) Officers’ use of tactics or objects to control crowds during a demonstration or protest;



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b) Officers’ use of force during a demonstration or protest;

c) Use of force reporting and investigations related to uses of force during a demonstration
   or protest;

d) Officers’ use of batons or other instruments during a demonstration or protest;

e) Officers’ tactical use of other objects, such as shields and bicycles, during a
   demonstration or protest;

f) Officers’ use of Oleoresin Capsicum (also known as “OC” or “pepper spray”) during a
   demonstration or protest;

g) Technical Assistance Response Unit (“TARU”) video and audio recording related to a
   demonstration or protest;

h) Strategic Response, Strategic Response Group (“SRG”), and Disorder Control Unit
   operations;

i) Policing operations, including traffic safety, crowd and disorder control operations,
   during a demonstration or protest;

j) Officers’ use of body worn cameras during a demonstration or protest;

k) Officers’ use of zip-ties or flex cuffs during a demonstration or protest;

l) Officers’ use of kettling tactics or encirclement during a demonstration or protest;

m) Officers’ interaction with, and treatment of, Legal Observers during a demonstration or
   protest;

n) Officers’ interaction with, and treatment of, journalists, reporters, photographers, and
   members of the press during a demonstration or protest;

o) Officers’ enforcement of any applicable curfews in place during a demonstration or
   protest, such as the Curfew Orders, including, but not limited to:

       a. The requirements in the Curfew Orders to give dispersal orders and opportunities
          to disperse prior to Arrests or Prosecutions for violations of the Curfew Orders;
       b. The exemptions contained in the Curfew Orders for Essential Workers,
          including, but not limited to:
               i. Identifying Essential Workers;
              ii. The treatment of Legal Observers as Essential Workers; and
             iii. Allowing Essential Workers who have been Arrested related to purported
                  violations of the Curfew Orders to disperse;
       c. Any requirements or prerequisites for an Officers’ initiating an Arrest or
          prosecution related to a purported violation of the Curfew Orders, including, but

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           not limited to, any requirements that the Officer have personally observed, or be
           able to identify an Officer who personally observed, a purported violation of the
           Curfew Orders prior to an Arrest or Prosecution related to a protest violation.

p) Incident command, chain of command, and command and control during a
   demonstration or protest and the Summer 2020 Protests;

q) Facilitation, accommodation, and escort of demonstrations or protests;

r) First Amendment, Fourth Amendment, and Fourteenth Amendment principles applicable
   to policing demonstrations or protests, including the requirements that content-neutral
   restrictions on speech are narrowly tailored and provide ample alternatives for
   expression, as well as the need to provide fair warning before making certain Arrests or
   engaging in certain uses of force;

s) The need to give dispersal orders and a meaningful opportunity to comply with them
   before making Arrests for a Protest-Related Violation or Offense at a demonstration or
   protest;

t) Racial profiling;

u) Officers’ use of race in law enforcement decisions and/or implicit bias;

v) Officers’ use of racial slurs or epithets;

w) Officers’ affiliation with or participation in groups or website that promote racists views;

x) Officers’ Arrest of individuals during a demonstration or protest, including procedures
   for effecting and processing large-scale or mass arrests;

y) Probable cause to Arrest for a Protest-Related Violation or Offense;

z) Discretion to Arrest for a Protest-Related Violation or Offense;

aa) When to process an Arrest for a Protest-Related Violation or Offense for release with a
    summons or Desk Appearance Ticket, or for arraignment, including during a
    demonstration or a protest;

bb) Officers’ transportation of people Arrested during or after a demonstration or protest;

cc) Officers’ use of mass or large-scale arrest processing (including the use of a Mass Arrest
    Processing Center), including related to a demonstration or a protest;




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     dd) Officers’ provision of medical aid to civilians injured during a demonstration or protest;

     ee) Officers’ wearing of face coverings when interacting with the public during or after a
         demonstration or protest, including during arrest processing; and

     ff) Any other policies, procedures, directives or training associated with policing large-scale
         events, including protests, demonstrations, and events involving civil disobedience.

9.      “Summer 2020 Protests” means the protests, demonstrations, and gatherings at each of

the “Protest Locations” identified in “Attachment B” hereto.



                                  TOPICS FOR DEPOSITION

        Topic No. 1: The process for drafting, developing, soliciting or providing input into,

modifying or revising, reviewing, and approving each of the Relevant Policies and Procedures

(and drafts thereof), including the identity(ies) of the individual(s) that developed, drafted,

modified, revised, provided input into (including by communicating data, information, reports, or

recommendations orally or in writing), and/or approved each Relevant Policy and Procedure and

the identity(ies) of the individual(s) who had authority over final approval for each Relevant

Policy and Procedure.

        Topic No. 2: The nature and extent of records documenting the process for developing,

soliciting or providing input into, modifying or revising, reviewing, and approving, as well as the

identities of the individuals involved in drafting, developing, modifying, providing input into,

and/or approving, each one of the Relevant Policies and Procedures and any drafts, versions, and

revisions thereof, including, but not limited to, correspondence, memoranda, to/from

communications, meeting minutes, agendas, calendar entries, and other such documents

reflecting the dates, times, and locations of related meetings and communications, and the

location(s) and manner(s) in which such documents and information are stored.


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       Topic No. 3: Documents and information that were reviewed or considered related to

developing, modifying or revising, and approving each of the Relevant Policies and Procedures,

and the location(s) and manner(s) in which such documents and information are stored.

       Topic No. 4: The document maintenance and retention policies and procedures of the

NYPD, the Mayor’s Office, and any department, precinct, bureau, unit, division, or other

subdivision of the NYPD or the Mayor’s Office, and the nature, extent, and location(s) of

documents reflecting those document maintenance and retention policies.

       Topic No. 5: With respect to each of the ESI sources described in the Defendants’ ESI

Disclosures (NYPD), specifically: Department Email; Department Network Drives; the Crime

Data Warehouse (CDW); Domain Awareness System (DAS); Omniform; PhotoManager;

Electronic Case Management System (ECMS); Property and Evidence Tracking System (PETS);

Activity Log; Department iPhones and iPads; Internal Case Management System (ICMS);

Department Social Media database; Finest Online Records Management System (FORMS);

Automated Roll Call System (ARCS); Microsoft Team Chats; ARGUS database, and

evidence.com body-worn camera (BWC) database, as well as video and audio recordings created

by Officers of the NYPD’s Technical Assistance Resource Unit (“TARU”) and Aviation Unit:

The types of data stored; the media on which the data are stored; the search capabilities of each

ESI source (both the front-end applications and the underlying media); audit trails for database

changes; and export capabilities for each of the foregoing ESI sources; and the nature, extent,

and location(s) of technical documentation and manuals for each of the foregoing ESI sources.

       Topic No. 6: The organizational structure of and chain of command within the NYPD,

including both typical chain of command and the chain of command that was operative during

the NYPD’s response to racial justice protests that took place between May 28, 2020 and January



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31, 2021 (including the Summer 2020 Protests), including, but not limited to, policies, practices,

and procedures related to: The roles of an Incident Commander at a protest or demonstration;

circumstances under which an Incident Commander is assigned or not assigned; factors to be

considered related to the determination as to whether to assign an Incident Commander; and

when the highest ranking Uniformed Member of the Service is or is not the Incident Commander

with respect to a particular incident.

       Topic No. 7: The policies, procedures, and practices followed by the Mayor, the

Mayor’s Office, and the New York City Department of Investigation for overseeing, reviewing,

and/or monitoring the NYPD’s policing of demonstrations or protests, including, but not limited

to, the Summer 2020 Protests, and the enforcement of the Curfew Orders at the Summer 2020

Protests.




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                               Attachment B: List of Protest Locations1

    Protest Date                   Approximate Location                            Complaint Allegations
    No.
    1       May 28, 2020           Lafayette Street to City Hall,                  People, ¶ 51
                                   Manhattan                                       Sow, ¶ 65
    2       May 28, 2020           Union Square, Manhattan                         People, ¶¶ 128-132
                                                                                   Payne, ¶ 44
                                                                                   Sow, ¶ 65
    3       May 29, 2020           Foley Square Manhattan to Near                  People, ¶¶ 52, 193-195,
                                   Barclays Center, Brooklyn via                   196-202
                                   Brooklyn Bridge                                 Payne, ¶ 45
                                                                                   Sow, ¶ 65
                                                                                   Wood, ¶¶ 45-47
    4       May 29, 2020           Clinton Hill, Brooklyn                          People, ¶¶ 52, 133-140,
                                                                                   223-226
    5       May 29, 2020           Fort Greene, Brooklyn                           People, ¶ 52
    6       May 29, 2020           Bedford-Stuyvesant, Brooklyn                    People, ¶¶ 141-149,
                                   (Herbert von King Park), Brooklyn               161-163
    7       May 29, 2020           Pacific Street and Flatbush Avenue,             People, ¶¶ 215-219
                                   Brooklyn                                        Wood, ¶¶ 48-50
    8       May 29, 2020           Union Square, Manhattan                         People, ¶ 52
    9       May 29, 2020           Herald Square, Manhattan                        People, ¶ 52
    10      May 30, 2020           Jackson Heights, Queens                         People, ¶ 53
    11      May 30, 2020           Park Slope, Brooklyn                            People, ¶ 53
    12      May 30, 2020           East Flatbush, Brooklyn                         People, ¶¶ 53, 312-317
                                                                                   Sow, ¶ 67
    13      May 30, 2020           Near Bedford & Tilden Aves.,                    People, ¶¶ 178-192,
                                   Brooklyn                                        235-236
    14      May 30-31,             Barclays Center to Flatbush Extension,          People, ¶¶ 203-207,
            2020                   Brooklyn                                        107-114
                                                                                   Payne, ¶¶ 47-48, 107-
                                                                                   115
    15      May 30, 2020           Harlem / West Side Highway,                     People, ¶¶ 402-407
                                   Manhattan
    16      May 30, 2020           Union Square to FDR Drive/Lower                 Payne, ¶¶ 50, 117-123
                                   East Side, Manhattan                            Sow, ¶¶ 130-151
    17      May 30, 2020           City Hall to Brooklyn Bridge,                   Sow, ¶¶ 152-177
                                   Manhattan
    18      May 31, 2020           Near Barclays Center, Brooklyn                  People, ¶ 54
                                                                                   Sow, ¶ 68


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 The allegations listed in this table reference those in the Amended Complaints in People, No. 21 Civ. 322 (ECF
No. 51), Payne, No. 20 Civ. 8224 (ECF No. 54), Sierra, No. 20 Civ. 10291 (ECF No. 38), Sow, 21 Civ. 533 (ECF
No. 49) and Wood, 20 Civ. 10541 (ECF No. 48) and the Complaint in Yates, No. 21 Civ. 1904 (ECF No. 1).

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Protest Date           Approximate Location                   Complaint Allegations
No.
19      May 31, 2020   Downtown Brooklyn to multiple          People, ¶ 54
                       bridges
20      May 31, 2020   Brooklyn Bridge                        People, ¶ 54
21      May 31, 2020   From Manhattan Bridge to Chinatown,    People, ¶ 54
                       Church Avenue, and/or across Canal     Yates, ¶¶ 13-21
                       Street, Manhattan                      Wood, ¶¶ 51-54
22      May 31, 2020   Near Williamsburg Bridge, Manhattan    People, ¶ 54
23      May 31, 2020   Broadway to E. 11th St. & Near Union   People, ¶¶ 155-160,
                       Square, Manhattan                      231-234

                                                              Payne, ¶¶ 125-130
24      May 31, 2020   Times Square, Manhattan                People, ¶ 54
25      May 31, 2020   F.D.R. Drive, Manhattan                People, ¶¶ 208-210
26      June 1, 2020   Midtown, Manhattan                     People, ¶¶ 55, 227-230
                                                              Payne, ¶ 53
                                                              Sow, ¶¶ 208-219
27      June 1, 2020   East Village, Manhattan                People, ¶ 55
28      June 1, 2020   Near Union Square Park, Manhattan      People, ¶ 55
                                                              Payne, ¶ 53
29      June 1, 2020   Near Barclays Center, Brooklyn,        People, ¶ 55
                       Crossing Manhattan Bridge into Times   Sow, ¶¶ 180-206
                       Square & Near Port Authority,
                       Manhattan
30      June 1, 2020   Fordham Manor, Bronx                   People, ¶ 55
31      June 1, 2020   Astoria Park, Queens                   People, ¶ 55
32      June 1, 2020   Flushing, Queens                       People, ¶ 55
33      June 2, 2020   Lower Manhattan/Foley Square to        People, ¶¶ 56, 318-323
                       Central Park, Manhattan                Payne, ¶¶ 131-136
34      June 2, 2020   Union Square, Manhattan                People, ¶¶ 56
35      June 2, 2020   Near Barclays Center, Brooklyn to      People, ¶¶ 330-336
                       Manhattan Bridge
36      June 2, 2020   Upper West Side, Manhattan             People, ¶¶ 56, 423-430
37      June 2, 2020   Astor Place, Manhattan                 People, ¶ 56
38      June 2, 2020   Chelsea, Manhattan                     People, ¶ 56
                                                              Payne, ¶ 54
39      June 2, 2020   Near West Side Highway, Manhattan      Payne, ¶ 54
                                                              Sow, ¶¶ 220-237, 239-
                                                              282
40      June 2, 2020   Bryant Park to Midtown, Manhattan      People, ¶ 57
                                                              Wood, ¶¶ 55-59

41      June 3, 2020   Cadman Plaza, Brooklyn                 People, ¶¶ 57, 164-168,
                                                              337-346
                                                              Payne, ¶¶ 55, 143-159
                                       15
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Protest Date            Approximate Location                 Complaint Allegations
No.
                                                             Sow, ¶ 83
                                                             Wood, ¶¶ 65-66
42      June 3, 2020    Maria Hernandez Park, Brooklyn       People, ¶ 57
43      June 3, 2020    Midtown East/Upper East Side,        People, ¶¶ 57, 237-246,
                        Manhattan                            347-354
                                                             Sow, ¶ 84-85, 284-309
                                                             Wood, ¶¶ 60-64
44      June 4, 2020    Mott Haven, Bronx                    People, ¶¶ 58, 169-170,
                                                             247-255, 284-310, 366-
                                                             387
                                                             Wood, ¶¶ 116-167
                                                             Payne, ¶¶ 59-65, 161-
                                                             173, 182-192, 194-200
                                                             Sierra, ¶¶ 41-124
                                                             Sow, ¶¶ 86-93, 310-329,
                                                             332-345, 348-390, 392-
                                                             418
45      June 4, 2020    McCarren Park to South               People, ¶¶ 355-365
                        Williamsburg, Brooklyn               Payne, ¶¶ 58, 202-206
                                                             Wood, ¶¶ 67-68
                                                             Sow, ¶ 84-85
46      June 4, 2020    Clinton Hill and Prospect Heights,   People, ¶ 59
                        Brooklyn
47      June 4, 2020    Flatbush, Brooklyn                   People, ¶ 59
48      June 4, 2020    Brooklyn Bridge                      People, ¶ 59
49      June 4, 2020    Midtown, Manhattan                   People, ¶ 59
50      June 4, 2020    Flushing, Queens                     People, ¶ 59
51      June 4, 2020    Central Park West, Manhattan         People, ¶ 59
52      June 5, 2020    Crown Heights, Brooklyn              People, ¶ 60
53      June 5, 2020    Sunset Park, Brooklyn                People, ¶ 60
54      June 5, 2020    Staten Island                        People, ¶ 60
55      June 5, 2020    Near Gracie Mansion, Manhattan       People, ¶ 60
56      June 5, 2020    Barclays Center to Downtown          People, ¶ 60
                        Brooklyn
57      June 5, 2020    Nostrand Ave., Brooklyn              Payne, ¶ 71
58      June 6, 2020    Financial District, Manhattan        People, ¶ 61
59      June 7, 2020    Upper East Side, Manhattan           People, ¶ 61
60      June 8, 2020    Times Square, Manhattan              People, ¶ 61
61      June 14, 2020   Times Square, Manhattan              Payne, ¶ 74
62      June 28, 2020   Foley Square to West Village,        People, ¶ 62
                        Manhattan (incl. Washington Square   Payne, ¶¶ 78, 174-180,
                        Park)                                209-210
63      June 23-30,     City Hall Park, Manhattan            Payne, ¶ 74
        2020
                                        16
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Protest   Date              Approximate Location                   Complaint Allegations
No.
64        July 3, 2020      City Hall Park, Manhattan              People, ¶ 63
65        July 11, 2020     Dyker Heights, Brooklyn                Sow, ¶ 101
66        July 12, 2020     Bay Ridge, Brooklyn                    Sow, ¶ 102
67        July 15, 2020     Brooklyn Bridge Pedestrian Path        People, ¶¶ 408-421
68        July 28, 2020     Kips Bay, Manhattan                    People, ¶ 64
69        September 11,     McCarren Park, Brooklyn                People, ¶ 65
          2020
70        September 17,     Foley Square, Manhattan                Payne, ¶ 76
          2020
71        September 19,     Times Square, Manhattan                Payne, ¶ 77
          2020
72        September 26,     Washington Square Park and Near        People, ¶ 66
          2020              Sixth Precinct Stationhouse,
                            Manhattan
73        October 6, 2020   Borough Park, Brooklyn                 Sow, ¶ 103
74        October 7, 2020   Bedford-Stuyvesant, Brooklyn           People, ¶ 67
75        October 25,       Coney Island, Brooklyn to near Trump   Sow, ¶ 104
          2020              Tower, Manhattan, to Brooklyn Park
76        November 1,       Hell’s Kitchen, Manhattan              Sow, ¶ 105
          2020
77        November 4,       Washington Square Park, W. 8th and     People, ¶¶ 68, 388-389
          2020              Greenwich Ave., Manhattan
78        November 4,       Central Park to Union Square,          People, ¶ 68, 390-393
          2020              Manhattan                              Payne, ¶ 78
79        November 5,       West Village to Union Square,          People, ¶ 69
          2020              Manhattan                              Payne, ¶ 79
80        December 2,       Staten Island                          Sow, ¶ 106
          2020
81        December 11,      Downtown Brooklyn                      People, ¶ 70
          2020
82        January 12-16,    Downtown Brooklyn                      Payne, ¶ 138
          2021
83        January 18,       Barclays Center, Brooklyn to City Hall People, ¶¶ 71, 112-113
          2021              Park, Manhattan                        394-398
                                                                   Payne, ¶¶ 80, 139-140




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